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IN THE UNITED STATBS DISTRICT COGRT ; _- ; :§‘; -- _' -.
FOR THE NORTHERN 'DISTRICT OF TEXAS § §

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FORT WORTH DIVISION ‘"'M“""` `f"""".l.;`§M` ""`"”""I

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UNITED STATES OF AMERICA

§§

 

v. _ , No. 4:18-CR-082-Y
YOUSEF HENDI (01)
FACTUAL RESUME

SUPERSEDING INFORMA'I`ION:
Count One: Sexual Exploitation of Children, in violation of 18 U.S.C. § 2251(a);
Ccunt Two: Sexual Exploitation of Children, in violation of 18 U.S.C. § 2251(a);

PLEA: Guilty plea to Count One and Count Two
PENALTY:

’l`he penalties the Court can impose for each count is as follows:

¢ a term of imprisonment for not less than fifteen (l$) years and not more than thirty
(30) years per count, for a maximum term of not less than thirty (30) years and not
more'than sixty (60) years;

- a fmc up to the amount of 3250,000, for a maximum total of $500,000; or twice
the pecuniary gain or twice the pecuniary loss, per count;

¢ a mandatory special assessment of 3100 per count for atotal of $200;

- a term of supervised release of five (5) years up to any term of years to life for
each count. If the defendant violates any condition of the term of supervised
release, the Ccurt may revoke such release term and require that the defendant
serve an additional period of confinement Also, in a revocation of multiple
counts, the Court may run sentences consecutively;

¢ restitution to victims or to the community, which may be mandatory under the
law; and

o additionally, unless the Court finds the defendant to be indigent, a mandatory
special assessment of $5000 for each count must also be imposed pursuant to 18
U.S.C. § 3014 for offenses occurring on or after May 29, 2015.

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ELEMENTS OF THE OFFENSE:

In order to establish the offenses alleged for each of the counts listed in the
Int`ormation, the Government must prove the following elements beyond a reasonable
doubt:

First: That on or about the date set out in the Inforrnation, the defendant

did knowingly employ, use, persuade, induce, entice, or coerce a
minor to engage in sexually explicit conduct;

Second: The defendant acted with the intent of producing any visual
depiction cf such conduct; and

'l`hird: The visual depiction was transported or transmitted using any means
or facility of interstate or foreign commerce

STIPULATION OF FACTS:

i. Between on or about November 19, 2016 and continuing through on or about
November 28, 2016, in the Fort Worth Division of the Northern District of Texas, and
elsewhere, defendant Yousef Hendi did knowingly empioy, use, persuade, induce, entice
and coerce a minor, “MV-G,” to engage in sexually explicit conduct for the purpose of
producing any visual depiction of such conduct, and the visual depictions, specifically
identified as “Screenshot_~2016-1 1~2 7~21-18~07.png,” described as a still image depicting
actual and simulated penetration of the vagina of MV-G, a nude, minor female, and
“[redacted]'llob?.mp4,” described as a video file of MV»G, a nude minor female,
inserting and penetrating her vagina With the handle of a hairbrush, Were transported and
transmitted using any means and facility of interstate and foreign commerce

2. § On or about luna i, 2017, in the Fcrt Worth Division of the Northern District of

'I`exas, and elsewhere, defendant Youset` Hendi did knowingly empioy, use, persuade,

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induce, entice and coerce a minor, “MV~¢},” to engage in sexually explicit conduct for the
purpose of producing any visual depiction of such conduct, and the visual depiction,
specifically identified as “2017“06“01_13_32_24.mp4,” and described as a video
depicting MV*4, a minor female who removes her paj ama pants and repeatedly
penetrates her vagina using the handle of a hairbrush, was transported and transmitted
using any means and facility of interstate and foreign commerce

3. On November 1, 2017, Homeland Security Investigations (HSI) was conducting a
child pornography investigation that involved service of a search warrant at Yousef
Hendi’s horne in Arlington, Texas. During a preliminary on-scene triage of computers
and cell phone devices, agents identified images of nude minors located on Hendi’s
Samsung Galaxy cell phone in his Google Photos application Agents confronted Hendi
about the images, and he admitted that he had coerced female teenagers to send sexually
explicit images ofthemselves. The videos and images were maintained in Hendi’s
Google account

4. A subsequent detailed examination of the contents of Hendi’s Google account led
to the discovery that Hendi used his Kik account to communicate with and persuade,
coerce, and entice minors to engage in sexually explicit conduct, which Hendi then
captured and saved to his Google Photos account In particular, agents identified
multiple folders containing recorded videos and images of MV-6, to include a screenshot
with the file designation, “Screenshot_2016-l 1~27-21-18-07.png,” described as a still

image depicting actual and simulated penetration of the vagina of MV-G, a nude, minor

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female, with a hairbrush. A video file depicting the event, [redacted]?ltib'?.mp¢l, was
located in the same folder. Comrnunications, which occurred beginning in or around
November 19, 2016 and continuing until on or about November 28, 2016, include Hendi
directing MV-6 to provide nude, sexually explicit images and videos of herself and
threatening to expose her images on the Internet. The charged files were uploaded to
Hendi’s Google account on or about November 27, 2016.

5. HSI agents also identified a folder containing images and videos of MV-¢i. The
video tile, designated 20£’7_06_01__13_32"24.mp4 was uploaded by Hendi to his Google
account on or about lane 1, 2017. The video created by Hendi depicts MV~4, a minor
femaie, removing her paj ama pants and repeatedly penetrating her vagina with a
hairbrush. The video includes simultaneous communications with MV~4 in which Hendi
directs the minor to insert the hairbrush into her vagina or he will expose other sexually
explicit images of her over the Internet.

6. Hendi admits that he used, persuaded, induced, enticed or coerced MV-6 and
MV-4, whom he knew to be minors, to engage in sexually explicit conduct for the
purpose of producing visual depictions, Which are previously described in paragraphs one
and two. I-Iendi used the Internet as Well as his Kik Instant Messaging Application to
produce the sexually explicit depictions of minors, and he used the Internet to transport or
transmit the images and videos of the minors to his Google Photos account Hendi also

stipulates that the Internet is a means or facility of interstate or foreign commerce

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SIGNED and AGREED to on this the l day of A£Q§ § z , 2018.

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vousns naan PHEN ooRDoN
Defendant Attorney for Defendant

 

The defendant recognizes that pleading guilty may have consequences with respect
to his immigration status if he is not a citizen of the United States, including removal
from the United States. Removal and other immigration consequences would be the
subject of a separate proceedingl however, and defendant understands, that no cne,
including his attorney or the District Court, can predict to a certainty the edect of his
conviction on his immigration status The defendant nevertheless affirms that he
wants to plead guilty regardless of any immigration consequences that his plea may
entail, even if the consequences include his automatic removal from the United
States.

 

 

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YOUSEF HENDI 'I`EPHEN GORDON
Defendant Counsel for Defendant

l have been advised, and understand, that under the Sex Offender Registration and
Notitication Act, a federal law, l must register and keep the registration current in each of
the following jurisdictions: where I reside; where l arn an employee; and where I am a
student l understand that the requirements for registration include providing my name,
my residence address, and the names and addresses of any places where l arn or will be
an employee or a student, among other information l further understand that the
requirement to keep the registration current includes informing at least one jurisdiction in
Which I reside, am an employee, or am a student not later than three business days after
any change of my name, residence, employment, or student status as well as an intent to
travel in foreign commerce I have been advised, and understand, that failure to comply
with these obligations subjects me to prosecution for failure to r `ster under federal law,
18 U.S.C. Section 2250, Which is punishable by a fine or im ent or both.

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YoUsE'F naNbi
Defendant

   

 

 

 

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I arn the defendant’s counsel I have carefully reviewed every part of this Factuai
Resume With the <.iet”'endantg including the notice that he is required to register as a sex
offender and pot tial immigration consequences if he is not a United States citizen To
d belief, my client’s decision to enter into this Faetual Resume is an

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Date
Attorney for Defendant

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